                                                                              Case:05-18237-HRT Doc#:1 Filed:04/13/05                                         Entered:04/13/05 10:09:44 Page1 of 26
                                                                     (Official Form 1) (12/03)
                                                                     FORM B1
                                                                                                          United States Bankruptcy Court
                                                                                                                                                                                                         Voluntary Petition
                                                                                                                District of Colorado
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                           Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Barngrover, Earl Dean
                                                                      All Other Names used by the Debtor in the last 6 years                               All Other Names used by the Joint Debtor in the last 6 years
                                                                      (include married, maiden, and trade names):                                          (include married, maiden, and trade names):
                                                                      ptr Front Range Enterprises



                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.                     Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.
                                                                      No. (if more than one, state all): 0694 / XX-XXXXXXX                                 No. (if more than one, state all):
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                     Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      2206 Albany Ct.
                                                                      Loveland, CO 80538


                                                                      County of Residence or of the                                                        County of Residence or of the
                                                                      Principal Place of Business: Larimer                                                 Principal Place of Business:
                                                                      Mailing Address of Debtor (if different from street address):                        Mailing Address of Joint Debtor (if different from street address):
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                                                                      Location of Principal Assets of Business Debtor
                                                                      (if different from street address above):

                                                                                                    Information Regarding the Debtor (Check the Applicable Boxes)
                                                                      Venue (Check any applicable box)
                                                                      ü  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                         preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                         There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                                                                                    Type of Debtor (Check all boxes that apply)                                   Chapter or Section of Bankruptcy Code Under Which
                                                                      ü    Individual(s)                     Railroad                                                       the Petition is Filed (Check one box)
                                                                           Corporation                       Stockbroker                                   ü    Chapter 7           Chapter 11             Chapter 13
                                                                           Partnership                       Commodity Broker                                   Chapter 9           Chapter 12
                                                                           Other                             Clearing Bank                                      Sec. 304 - Case ancillary to foreign proceeding

                                                                                          Nature of Debts (Check one box)
                                                                      ü Consumer/Non-Business
                                                                                                                                                                                   Filing Fee (Check one box)
                                                                                                          Business
                                                                                                                                                           ü    Full Filing Fee attached
                                                                              Chapter 11 Small Business (Check all boxes that apply)                            Filing Fee to be paid in installments (applicable to individuals only)
                                                                                                                                                                Must attach signed application for the court’s consideration
                                                                           Debtor is a small business as defined in 11 U.S.C. § 101                             certifying that the debtor is unable to pay fee except in installments.
                                                                           Debtor is and elects to be considered a small business under                         Rule 1006(b). See Official Form No. 3.
                                                                           11 U.S.C. § 1121(e) (Optional)
                                                                      Statistical/Administrative Information (Estimates only)                                                                    THIS SPACE IS FOR COURT USE ONLY

                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                      ü   Debtor estimates that, after any exempt property is excluded and administrative expenses
                                                                          paid, there will be no funds available for distribution to unsecured creditors.
                                                                                                                1-15          16-49      50-99      100-199     200-999      1000-over
                                                                      Estimated Number of Creditors
                                                                                                                               ü
                                                                      Estimated Assets
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000     $100,000       $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                          ü
                                                                      Estimated Debts
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000     $100,000       $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                          ü
                                                                     VOLUNTARY PETITION
                                                                             Case:05-18237-HRT Doc#:1 Filed:04/13/05                                   Entered:04/13/05 10:09:44 Page2 of 26
                                                                     (Official Form 1) (12/03)                                                                                                                    FORM B1, Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Barngrover, Earl Dean
                                                                                                  Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
                                                                      Location                                                                       Case Number:                               Date Filed:
                                                                      Where Filed: None
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                               Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                              Judge:


                                                                                                                                             Signatures
                                                                                  Signature(s) of Debtor(s) (Individual/Joint)                                                             Exhibit A
                                                                      I declare under penalty of perjury that the information provided in this            (To be completed if debtor is required to file periodic reports
                                                                      petition is true and correct.                                                        (e.g., forms 10K and 10Q) with the Securities and Exchange
                                                                      [If petitioner is an individual whose debts are primarily consumer                  Commission pursuant to Section 13 or 15(d) of the Securities
                                                                      debts and has chosen to file under Chapter 7] I am aware that I may                Exchange Act of 1934 and is requesting relief under chapter 11)
                                                                      proceed under chapter 7, 11, 12 or 13 of title 11, United State Code,              Exhibit A is attached and made a part of this petition.
                                                                      understand the relief available under each such chapter, and choose to
                                                                      proceed under chapter 7.                                                                                             Exhibit B
                                                                      I request relief in accordance with the chapter of title 11, United States                     (To be completed if debtor is an individual
                                                                      Code, specified in this petition.                                                              whose debts are primarily consumer debts)
                                                                                                                                                     I, the attorney for the petitioner named in the foregoing petition,
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                                                                      X   /s/ Earl Dean Barngrover                                                   declare that I have informed the petitioner that [he or she] may proceed
                                                                          Signature of Debtor                                 Earl Dean Barngrover   under chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                                                                                                     explained the relief available under each such chapter.
                                                                      X
                                                                          Signature of Joint Debtor
                                                                                                                                                     X    /s/ L.B. Schwartz                                             4/13/05
                                                                          Telephone Number (If not represented by attorney)                               Signature of Attorney for Debtor(s)                               Date

                                                                          April 13, 2005                                                                                                   Exhibit C
                                                                          Date
                                                                                                                                                     Does the debtor own or have possession of any property that poses or
                                                                                                  Signature of Attorney                              is alleged to pose a threat of imminent and identifiable harm to public
                                                                                                                                                     health or safety?
                                                                      X   /s/ L.B. Schwartz                                                              Yes, and Exhibit C is attached and made a part of this petition.
                                                                          Signature of Attorney for Debtor(s)
                                                                                                                                                     üNo
                                                                          L.B. Schwartz 6455
                                                                          Printed Name of Attorney for Debtor(s)                                                 Signature of Non-Attorney Petition Preparer
                                                                          L.B. Schwartz                                                              I certify that I am a bankruptcy petition preparer as defined in 11
                                                                          Firm Name                                                                  U.S.C. § 110, that I prepared this document for compensation, and that
                                                                                                                                                     I have provided the debtor with a copy of this document.
                                                                          7200 E. Dry Creek Rd. #D205
                                                                          Address
                                                                          Centennial, CO 80112                                                         Printed Name of Bankruptcy Petition Preparer

                                                                          (303) 488-9800                                                               Social Security Number (Required by 11 U.S.C. § 110(c).)
                                                                          Telephone Number
                                                                          April 13, 2005                                                               Address
                                                                          Date

                                                                                 Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this         Names and Social Security numbers of all other individuals who
                                                                      petition is true and correct, and that I have been authorized to file this       prepared or assisted in preparing this document:
                                                                      petition on behalf of the debtor.
                                                                      The debtor requests relief in accordance with the chapter of title 11,           If more than one person prepared this document, attach additional
                                                                      United States Code, specified in this petition.                                  sheets conforming to the appropriate official form for each person.

                                                                      X                                                                                X
                                                                          Signature of Authorized Individual
                                                                                                                                                            Signature of Bankruptcy Petition Preparer

                                                                          Printed Name of Authorized Individual
                                                                                                                                                            Date

                                                                          Title of Authorized Individual                                             A bankruptcy petition preparer’s failure to comply with the provisions
                                                                                                                                                     of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                          Date                                                                       in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                     VOLUNTARY PETITION
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                                                                                                                               United States Bankruptcy Court
                                                                                                                                     District of Colorado

                                                                     IN RE:                                                                                                          Case No.
                                                                     Barngrover, Earl Dean                                                                                           Chapter 7
                                                                                                                        Debtor(s)

                                                                                                                        STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs.

                                                                        Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19-25.
                                                                     If the answer to an applicable question is “None,” mark the box labeled “None.” If additional space is needed for the answer to any question, use
                                                                     and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                              DEFINITIONS

                                                                       “In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is “in business”
                                                                     for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                     partner, of a partnership; a sole proprietor or self-employed.
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                                                                       “Insider.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from
                                                                             the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately
                                                                             preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                                                                             report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE (if more than one)
                                                                                  9,964.00 Self-employed total revenue - 2005 to date
                                                                                 47,364.00 Self-employed total revenue - 2004
                                                                                 47,418.00 Self-employed total revenue - 2003

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor’s business during
                                                                             the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                  8,539.20 Social Security benefits for 2004
                                                                                  8,359.40 Social Security benefits for 2003
                                                                                        0.00 $653/month from Social Security benefits for 2005 to date

                                                                     3. Payments to creditors
                                                                      None   a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within
                                                                      ü      90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments
                                                                             by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
                                                                      ü      were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     NAME AND ADDRESS OF PERSON                                       RELATIONSHIP TO                                           DESCRIPTION AND
                                                                     OR ORGANIZATION                                                  DEBTOR, IF ANY                     DATE OF GIFT           VALUE OF GIFT
                                                                     St. John The Evan.                                               none                                                      $20 weekly for about 40
                                                                     1515 Hilltop Dr.                                                                                                           weeks
                                                                     Loveland, CO

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     L.B. Schwartz                                                    4/8/05                                                               1,200.00
                                                                     7200 E. Dry Creek Rd. #D205
                                                                     Centennial, CO 80112

                                                                     10. Other transfers
                                                                      None   List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, association,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
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                                                                      None   If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied
                                                                      ü      during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the commencement of
                                                                             the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship,
                                                                             or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the debtor owned
                                                                             5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                             preceding the commencement of this case.
                                                                                                                    TAXPAYER                                                          NATURE OF               BEGINNING AND
                                                                     NAME                                           I.D. NUMBER           ADDRESS                                     BUSINESS                ENDING DATES
                                                                     Front Range Enterprises                        XX-XXXXXXX            2206 Albany Ct.                             Janitorial              1985 to present
                                                                                                                                          Loveland, CO 80538
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more
                                                                     than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or otherwise
                                                                     self-employed.
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                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                             keeping of books of account and records of the debtor.
                                                                     NAME AND ADDRESS                                                 DATES SERVICES RENDERED
                                                                     Leloni Mills                                                     2002 to present
                                                                     2015 Chama Ave.
                                                                     Loveland, CO 80538
                                                                     William H. Holtzworth                                            1998-02
                                                                     Loveland, CO
                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                      ü      and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                             debtor. If any of the books of account and records are not available, explain.
                                                                     NAME AND ADDRESS
                                                                     Debtor, Ms. Mills And Mr. Holtzworth                             All available
                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued
                                                                      ü      within the two years immediately preceding the commencement of the case by the debtor.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                      ü      dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
                                                                      ü




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                     NAME AND ADDRESS                                                  NATURE OF INTEREST                                          PERCENTAGE OF INTEREST
                                                                     Earl Barngrover                                                   Partner                                                                   95.000000
                                                                     2206 Albany Ct.
                                                                     Loveland, CO 80538
                                                                     Elbert L. Mathews                                                 Partner                                                                            5.000000
                                                                     221 E. Ilex
                                                                     Miliken, CO 80543
                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                      ü      or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                      ü      of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                      ü      preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
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                                                                      ü      bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                      ü      purposes of which the debtor has been a member at any time within the six-year period immediately preceding the commencement of this case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                      ü      has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the case.

                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: April 13, 2005                              Signature /s/ Earl Dean Barngrover
                                                                                                                       of Debtor                                                                          Earl Dean Barngrover

                                                                     Date:                                             Signature
                                                                                                                       of Joint Debtor
                                                                                                                       (if any)

                                                                                                                                        0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.




                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                               Case:05-18237-HRT Doc#:1 Filed:04/13/05                                         Entered:04/13/05 10:09:44 Page8 of 26
                                                                                                                                 United States Bankruptcy Court
                                                                                                                                       District of Colorado

                                                                     IN RE:                                                                                                               Case No.
                                                                     Barngrover, Earl Dean                                                                                                Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from Schedules D, E, and F to determine the total
                                                                     amount of the debtor's liabilities.
                                                                                                                                                                                            AMOUNTS SCHEDULED

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)           SHEETS                 ASSETS                 LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                     1                        0.00



                                                                      B - Personal Property                                           Yes                     2                   6,875.00



                                                                      C - Property Claimed as Exempt                                  Yes                     1
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                                                                      D - Creditors Holding Secured Claims                            Yes                     1                                            4,440.12


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                     2                                            1,500.00
                                                                          Claims

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                     2                                          39,332.11
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                     1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                     1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                     1                                                                     1,553.00
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                     1                                                                     1,949.00
                                                                          Debtor(s)


                                                                                                 Total Number of Sheets in Schedules                         13



                                                                                                                                                   Total Assets                   6,875.00



                                                                                                                                                                       Total Liabilities                 45,272.23




                                                                     SUMMARY OF SCHEDULES
                                                                               Case:05-18237-HRT Doc#:1 Filed:04/13/05                                           Entered:04/13/05 10:09:44 Page9 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                             Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                         Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-tenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint, or "C" for Community in the column labeled
                                                                     "HWJC." If the debtor holds no interest in real property, write "None" under "Description and Location of Property".
                                                                        Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.
                                                                        If an entity claims to have a lien or hold a security interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write "None" in the column labeled "Amount of Secured Claim".
                                                                        If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                    CURRENT MARKET
                                                                                                                                                                                             H     VALUE OF DEBTOR'S
                                                                                                                                                                  NATURE OF DEBTOR'S         W   INTEREST IN PROPERTY       AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                 INTEREST IN PROPERTY        J    WITHOUT DEDUCTING              CLAIM
                                                                                                                                                                                             C   ANY SECURED CLAIM OR
                                                                                                                                                                                                      EXEMPTION

                                                                      None
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                                                                                                                                                                                    TOTAL                          0.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY
                                                                              Case:05-18237-HRT Doc#:1 Filed:04/13/05                                           Entered:04/13/05 10:09:44 Page10 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                              Case No.
                                                                                                                                 Debtor(s)

                                                                                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an "X" in the
                                                                     appropriate position in the column labeled "None". If additional space is needed in any category, attached a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint,
                                                                     or "C" for Community in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions only in Schedule C -
                                                                     Property Claimed as Exempt.
                                                                        Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leased.
                                                                       If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property".

                                                                                                                                                                                                                              CURRENT MARKET
                                                                                                                       N                                                                                               H     VALUE OF DEBTOR'S
                                                                                                                       O                                                                                               W   INTEREST IN PROPERTY
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                               J    WITHOUT DEDUCTING
                                                                                                                       E                                                                                               C   ANY SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION

                                                                        1. Cash on hand.                                   Currency                                                                                                         25.00
                                                                        2. Checking, savings or other financial            Big Thompson Credit Union checking account                                                                      100.00
                                                                           accounts, certificates of deposit, or           Big Thompson Credit Union savings account (95% share of                                                          95.00
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                                                                           $100 in partner account = $95)
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,        Rent deposit                                                                                                    100.00
                                                                           telephone companies, landlords, and
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                                                                           others.
                                                                        4. Household goods and furnishings,                Bedroom sets $175; Dining Rm. set $75; Liv. Rm. Furn. $125; TV                                               1,020.00
                                                                           include audio, video, and computer              $40; Computer $200; Exercise equipment $10; Dryer $50; Stereo
                                                                           equipment.                                      $15; Microwave $20; Household tools $10; Freezer $30; Washer
                                                                                                                           $50; Vacuum $25; Telephone $10; Misc. household goods $75;
                                                                                                                           Table service $40; Pictures $30
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothing                                                                                                        150.00
                                                                        7. Furs and jewelry.                           X
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                       10. Annuities. Itemize and name each            X
                                                                           issue.
                                                                       11. Interests in IRA, ERISA, Keogh, or          X
                                                                           other pension or profit sharing plans.
                                                                           Itemize.
                                                                       12. Stock and interests in incorporated         X
                                                                           and unincorporated businesses.
                                                                           Itemize.
                                                                       13. Interests in partnerships or joint              95% of Front Range Enterprises, no net liquidation value                                                           0.00
                                                                           ventures. Itemize.
                                                                       14. Government and corporate bonds and          X
                                                                           other negotiable and non-negotiable
                                                                           instruments.
                                                                       15. Accounts receivable.                        X
                                                                       16. Alimony, maintenance, support, and          X
                                                                           property settlements in which the
                                                                           debtor is or may be entitled. Give
                                                                           particulars.
                                                                       17. Other liquidated debts owing debtor             $2300 owed by Aaron Pope, whereabouts unknown, value $0                                                            0.00
                                                                           including tax refunds. Give                     $9800 owed by Albert J. Mathews, value $0                                                                          0.00
                                                                           particulars.



                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                             Case:05-18237-HRT Doc#:1 Filed:04/13/05                                Entered:04/13/05 10:09:44 Page11 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                 Case No.
                                                                                                                            Debtor(s)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)

                                                                                                                                                                                                             CURRENT MARKET
                                                                                                                     N                                                                                H     VALUE OF DEBTOR'S
                                                                                                                     O                                                                                W   INTEREST IN PROPERTY
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                J    WITHOUT DEDUCTING
                                                                                                                     E                                                                                C   ANY SECURED CLAIM OR
                                                                                                                                                                                                               EXEMPTION

                                                                      18. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      19. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      20. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      21. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
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                                                                      22. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      23. Automobiles, trucks, trailers, and             1973 Oldsmobile Toronado                                                                     2,150.00
                                                                          other vehicles and accessories.                1999 Pontiac Bonneville (Big Thompson CU)                                                    3,165.00
                                                                      24. Boats, motors, and accessories.            X
                                                                      25. Aircraft and accessories.                  X
                                                                      26. Office equipment, furnishings, and             Adding machine $10; Stapler $5                                                                   15.00
                                                                          supplies.
                                                                      27. Machinery, fixtures, equipment, and            Mops and dusters                                                                                 35.00
                                                                          supplies used in business.
                                                                      28. Inventory.                                 X
                                                                      29. Animals.                                       2 cats and dog                                                                                   20.00
                                                                      30. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                      31. Farming equipment and implements.          X
                                                                      32. Farm supplies, chemicals, and feed.        X
                                                                      33. Other personal property of any kind        X
                                                                          not already listed. Itemize.




                                                                                                                                                                                               TOTAL                  6,875.00
                                                                                                                                                                           (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                          Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                               Case:05-18237-HRT Doc#:1 Filed:04/13/05                                        Entered:04/13/05 10:09:44 Page12 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                          Case No.
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:

                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(1): Exemptions provided in 11 U.S.C. § 522(d). NOTE: These exemptions are available only in certain states.

                                                                       ü11 U.S.C. § 522(b)(2):     Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been located for 180
                                                                                                   days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any other place, and the debtor's
                                                                                                   interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.

                                                                                                                                                                                                                          CURRENT MARKET
                                                                                                                                                                                                 VALUE OF CLAIMED        VALUE OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                                    EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                            EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Rent deposit                                                 CRS §13-54-102(1)(r)                                                        100.00                   100.00
                                                                     Bedroom sets $175; Dining Rm. set $75;                       CRS §13-54-102(1)(e)                                                     1,020.00                  1,020.00
                                                                     Liv. Rm. Furn. $125; TV $40; Computer
                                                                     $200; Exercise equipment $10; Dryer $50;
                                                                     Stereo $15; Microwave $20; Household
                                                                     tools $10; Freezer $30; Washer $50;
                                                                     Vacuum $25; Telephone $10; Misc.
                                                                     household goods $75; Table service $40;
                                                                     Pictures $30
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                                                                     Clothing                                                     CRS §13-54-102(1)(a)                                                        150.00                   150.00
                                                                     1973 Oldsmobile Toronado                                     CRS §13-54-102(1)(j)(I)                                                  2,150.00                  2,150.00
                                                                     Adding machine $10; Stapler $5                               CRS §13-54-102(1)(i)                                                         15.00                     15.00
                                                                     Mops and dusters                                             CRS §13-54-102(1)(i)                                                         35.00                     35.00




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                              Case:05-18237-HRT Doc#:1 Filed:04/13/05                                           Entered:04/13/05 10:09:44 Page13 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                             Case No.
                                                                                                                                 Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                         State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                      date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                      the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                      security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                                                                                                  U
                                                                                                                                                                                                              C   N           AMOUNT OF CLAIM
                                                                                                                                     C                                                                        O   L    D     WITHOUT DEDUCTING
                                                                                                                                     O                                                                        N   I    I    VALUE OF COLLATERAL
                                                                                                                                     D   H                                                                    T   Q    S
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                           DATE CLAIM WAS INCURRED,
                                                                                                                                     E   W                                                                    I   U    P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                           NATURE OF LIEN, AND DESCRIPTION AND MARKET VALUE OF
                                                                                                                                     B   J                                                                    N   I    U
                                                                                         (See instructions above.)                                            PROPERTY SUBJECT TO LIEN
                                                                                                                                     T   C                                                                    G   D    T
                                                                                                                                     O                                                                        E   A    E   UNSECURED PORTION, IF
                                                                                                                                     R                                                                        N   T    D          ANY
                                                                                                                                                                                                              T   E
                                                                                                                                                                                                                  D

                                                                      Account No. 5219002L03                                                 1999 Pontiac Bonneville
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                                                                      Big Thompson Credit Union                                              Incurred: 9/25/04
                                                                      740 N. Cleveland                                                                                                                                                 4,440.12
                                                                      Loveland, CO 80537

                                                                                                                                             Value $              3,165.00                                                             1,275.12
                                                                      Account No.




                                                                                                                                             Value $

                                                                      Account No.




                                                                                                                                             Value $

                                                                      Account No.




                                                                                                                                             Value $

                                                                      Account No.




                                                                                                                                             Value $
                                                                                                                                                                                                               Subtotal
                                                                               0 Continuation Sheets attached                                                                                      (Total of this page)                4,440.12

                                                                                                                                                          (Complete only on last sheet of Schedule D) TOTAL                            4,440.12
                                                                                                                                                                                                      (Report total also on Summary of Schedules)




                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                              Case:05-18237-HRT Doc#:1 Filed:04/13/05                                             Entered:04/13/05 10:09:44 Page14 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                                Case No.
                                                                                                                                  Debtor(s)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                      priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                      number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. The complete account number
                                                                     of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entiry on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of claims listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS
                                                                     (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the
                                                                          earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2)

                                                                          Wages, salaries, and commissions
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                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
                                                                          qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the
                                                                          original petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition,
                                                                          or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as provided in 11
                                                                          U.S.C. § 507(a)(5).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
                                                                          family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6)

                                                                          Alimony, Maintenance, or Support
                                                                          Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C.
                                                                          § 507(a)(7).

                                                                     ü Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board
                                                                          of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository
                                                                          institution. 11 U.S.C. § 507(a)(9).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




                                                                               1 Continuation Sheets attached




                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                             Case:05-18237-HRT Doc#:1 Filed:04/13/05                                   Entered:04/13/05 10:09:44 Page15 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                 Case No.
                                                                                                                       Debtor(s)

                                                                                           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                (Continuation Sheet)


                                                                                                        Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                          (Type of Priority)

                                                                                                                                                                                                 U
                                                                                                                                                                                             C   N
                                                                                                                           C                                                                 O   L    D      TOTAL AMOUNT
                                                                                                                           O                                                                 N   I    I        OF CLAIM
                                                                                                                           D    H                                                            T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                           E    W                    DATE CLAIM WAS INCURRED                 I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER
                                                                                                                           B    J                  AND CONSIDERATION FOR CLAIM               N   I    U
                                                                                           (See instructions.)
                                                                                                                           T    C                                                            G   D    T
                                                                                                                           O                                                                 E   A    E     AMOUNT ENTITLED
                                                                                                                           R                                                                 N   T    D       TO PRIORITY
                                                                                                                                                                                             T   E
                                                                                                                                                                                                 D

                                                                     Account No.                                                    2004 income tax
                                                                     Colorado Dept. Of Revenue
                                                                     1375 Sherman St., Rm. 504                                                                                                                         500.00
                                                                     Denver, CO 80261

                                                                                                                                                                                                                       500.00
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                                                                     Account No.                                                    Agent for service
                                                                     Colorado Dept. Of Revenue
                                                                     C/O Colorado Attorney General                                                                                                                        0.00
                                                                     1525 Sherman St., 5th Fl.
                                                                     Denver, CO 80203

                                                                     Account No.                                                    Agent for service
                                                                     IRS/SPS
                                                                     C/O US Attorney-Special Asst.                                                                                                                        0.00
                                                                     1244 Speer Blvd. #500
                                                                     Denver, CO 80204

                                                                     Account No.                                                    Agent for service
                                                                     IRS/SPS
                                                                     C/O US Attorney-Tax Division                                                                                                                         0.00
                                                                     P.O. Box 683, Ben Franklin Station
                                                                     Washington, DC 20044

                                                                     Account No.                                                    2004 income and self-employment tax
                                                                     IRS/SPS
                                                                     600 17th St. 12th Fl. North Tower                                                                                                               1,000.00
                                                                     Stop 5012 DEN
                                                                     Denver, CO 80202
                                                                                                                                                                                                                     1,000.00
                                                                     Account No.




                                                                                                                                                                                                Subtotal
                                                                     Sheet         1 of          1 Continuation Sheets attached to Schedule E                                       (Total of this page)             1,500.00

                                                                                                                                                (Complete only on last sheet of Schedule E) TOTAL                    1,500.00
                                                                                                                                                                                      (Report total also on Summary of Schedules)



                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                               Case:05-18237-HRT Doc#:1 Filed:04/13/05                                             Entered:04/13/05 10:09:44 Page16 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                                 Case No.
                                                                                                                                   Debtor(s)

                                                                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                         State the name, mailing address, including zip code and last four digits of any account number of all entities holding unsecured claims without priority against the debtor
                                                                      or the property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                      the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
                                                                     sheet provided.
                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                                                                                       U
                                                                                                                                                                                                                  C    N
                                                                                                                                       C                                                                          O    L    D
                                                                                                                                       O                                                                          N    I    I
                                                                                                                                       D    H                                                                     T    Q    S
                                                                                  CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                                       E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.             I    U    P
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                                              AMOUNT OF CLAIM
                                                                                                                                       B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.                 N    I    U
                                                                                          (See instructions above.)
                                                                                                                                       T    C                                                                     G    D    T
                                                                                                                                       O                                                                          E    A    E
                                                                                                                                       R                                                                          N    T    D
                                                                                                                                                                                                                  T    E
                                                                                                                                                                                                                       D

                                                                      Account No. 0017                                                          Credit card charges
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                                                                      Advanta MasterCard                                                        Incurred: 2000-05
                                                                      P.O. Box 30715
                                                                      Salt Lake City, UT 84130-0715

                                                                                                                                                                                                                                             4,939.45
                                                                      Account No.                                                               Fees for bounty hunting of Jeremiah
                                                                      All American Bail Bonding                                                 Mathews and admin. fees
                                                                      305 W. Magnolia #266                                                      Incurred: 2004
                                                                      Ft. Collins, CO 80521

                                                                                                                                                                                                                                             1,160.00
                                                                      Account No. 8174                                                          Credit card charges
                                                                      Bank Of America Visa                                                      Incurred: 2000-05
                                                                      P.O. Box 1038
                                                                      Norfolk, VA 23501-1038

                                                                                                                                                                                                                                             4,954.39
                                                                      Account No. 4004                                                          Credit card charges
                                                                      Bank One Visa                                                             Incurred: 2001-05
                                                                      P.O. Box 15123
                                                                      Wilmington, DE 19850

                                                                                                                                                                                                                                             3,011.58
                                                                      Account No. 9221                                                          Credit card charges
                                                                      Chase Visa                                                                Incurred: 1992-05
                                                                      P.O. Box 52045
                                                                      Phoenix, AZ 85072-2045

                                                                                                                                                                                                                                             1,249.55
                                                                                                                                                                                                                   Subtotal
                                                                                1 Continuation Sheets attached                                                                                         (Total of this page)                15,314.97

                                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                                          (Report total also on Summary of Schedules)




                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                             Case:05-18237-HRT Doc#:1 Filed:04/13/05                               Entered:04/13/05 10:09:44 Page17 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                            Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
                                                                                                                                                                                               U
                                                                                                                                                                                           C   N
                                                                                                                          C                                                                O   L    D
                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                       AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No. 1564                                              Credit card charges
                                                                     Discover                                                      Incurred: 1999-04
                                                                     P.O. Box 3007
                                                                     New Albany, OH 43054-3007

                                                                                                                                                                                                                   1,882.69
                                                                     Account No. 3476                                              Repair on auto, gasoline
                                                                     First Premier Bank MasterCard                                 Incurred: 2003-05
                                                                     P.O. Box 5519
                                                                     Sioux Falls, SD 57117
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                                                                                                                                                                                                                     422.17
                                                                     Account No. 7841                                              Money to buy into cell phone business
                                                                     Fleet Visa                                                    Incurred: 2001-05
                                                                     P.O. Box 17192
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                   9,405.00
                                                                     Account No. 8959                                              Credit card charges
                                                                     MBNA America                                                  Incurred: 1999-05
                                                                     P.O. Box 15453
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                   5,190.67
                                                                     Account No. 9159                                              Credit card charges
                                                                     Providian Visa                                                Incurred: 2000-05
                                                                     P.O. Box 660433
                                                                     Dallas, TX 75266

                                                                                                                                                                                                                   3,881.36
                                                                     Account No. various accounts                                  Credit card charges
                                                                     Sears                                                         Incurred: 1994-05
                                                                     P.O. Box 45129
                                                                     Jacksonville, FL 32232-5129

                                                                                                                                                                                                                   1,422.00
                                                                     Account No. 7268                                              Cell phone bill
                                                                     TMobile                                                       Incurred: 2002
                                                                     C/O Trauner, Cohen & Thomas, LLP
                                                                     P.O. Box 1217
                                                                     Oaks, PA 19456
                                                                                                                                                                                                                   1,813.25
                                                                                                                                                                                            Subtotal
                                                                     Sheet         1 of          1 Continuation Sheets attached to Schedule F                                    (Total of this page)             24,017.14

                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL                   39,332.11
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                              Case:05-18237-HRT Doc#:1 Filed:04/13/05                                            Entered:04/13/05 10:09:44 Page18 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                              Case No.
                                                                                                                                 Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                     State nature of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease.
                                                                     Provide the names and complete addresses of all other parties to each lease or contract described.
                                                                     NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of creditors.

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                              Case:05-18237-HRT Doc#:1 Filed:04/13/05                                          Entered:04/13/05 10:09:44 Page19 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                           Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the name and address of the nondebtor
                                                                     spouse on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the commencement of this case.

                                                                     üCheck this box if debtor has no codebtors.

                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     SCHEDULE H - CODEBTORS
                                                                              Case:05-18237-HRT Doc#:1 Filed:04/13/05                                          Entered:04/13/05 10:09:44 Page20 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                            Case No.
                                                                                                                                Debtor(s)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint petition is filed,
                                                                     unless the spouses are separated and a joint petition is not filed.

                                                                      Debtor's Marital Status                                                             DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Single                                       RELATIONSHIP                                                                                           AGE




                                                                      EMPLOYMENT:                                             DEBTOR                                                                     SPOUSE
                                                                      Occupation                Domestic And Commercial Cleaning
                                                                      Name of Employer          Self-Employed
                                                                      How long employed         27 Years
                                                                      Address of Employer



                                                                     Income: (Estimate of average monthly income)                                                                                          DEBTOR                     SPOUSE
                                                                     Current Monthly gross wages, salary, and commissions (pro rata if not paid monthly)                                       $                          $
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                                                                     Estimated monthly overtime                                                                                                $                          $
                                                                     SUBTOTAL                                                                                                                   $                  0.00 $
                                                                      LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                     $                         $
                                                                       b. Insurance                                                                                                             $                         $
                                                                       c. Union dues                                                                                                            $                         $
                                                                       d. Other (specify)                                                                                                       $                         $
                                                                                                                                                                                                $                         $
                                                                     SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                             $                  0.00 $
                                                                     TOTAL NET MONTHLY TAKE HOME PAY                                                                                            $                  0.00 $

                                                                     Regular income from operation of business or profession or farm (attach detailed statement)                                $              900.00 $
                                                                     Income from real property                                                                                                  $                         $
                                                                     Interest and dividends                                                                                                     $                         $
                                                                     Alimony, maintenance or support payments payable to the debtor for the debtor’s use
                                                                     or that of dependents listed above                                                                                         $                         $
                                                                     Social Security or other government assistance
                                                                     (Specify) Social Security                                                                                                  $              653.00 $
                                                                                                                                                                                                $                         $
                                                                     Pension or retirement income                                                                                               $                         $
                                                                     Other monthly income
                                                                     (Specify)                                                                                                                  $                         $
                                                                                                                                                                                                $                         $
                                                                                                                                                                                                $                         $

                                                                     TOTAL MONTHLY INCOME                                                                                                       $            1,553.00 $

                                                                     TOTAL COMBINED MONTHLY INCOME $                                                1,553.00 (Report also on Summary of Schedules)

                                                                     Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                             Case:05-18237-HRT Doc#:1 Filed:04/13/05                                        Entered:04/13/05 10:09:44 Page21 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                        Case No.
                                                                                                                              Debtor(s)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly, semi-annually,
                                                                     or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     Rent or home mortgage payment (include lot rented for mobile home)                                                                              $              610.00
                                                                     Are real estate taxes included? Yes      No ü
                                                                     Is property insurance included? Yes      No ü
                                                                     Utilities: Electricity and heating fuel                                                                                                         $              125.00
                                                                                Water and sewer                                                                                                                      $
                                                                                Telephone                                                                                                                            $              120.00
                                                                                Other Trash $6; Cable TV $70                                                                                                         $               76.00
                                                                                                                                                                                                                     $
                                                                                                                                                                                                                     $
                                                                     Home maintenance (repairs and upkeep)                                                                                                           $               20.00
                                                                     Food                                                                                                                                            $              200.00
                                                                     Clothing                                                                                                                                        $               25.00
                                                                     Laundry and dry cleaning                                                                                                                        $               10.00
                                                                     Medical and dental expenses                                                                                                                     $              120.00
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                                                                     Transportation (not including car payments)                                                                                                     $              180.00
                                                                     Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $               25.00
                                                                     Charitable contributions                                                                                                                        $               50.00
                                                                     Insurance (not deducted from wages or included in home mortgage payments)
                                                                       Homeowner’s or renter’s                                                                                                                       $                24.00
                                                                       Life                                                                                                                                          $
                                                                       Health                                                                                                                                        $               44.00
                                                                       Auto                                                                                                                                          $              130.00
                                                                       Other                                                                                                                                         $
                                                                                                                                                                                                                     $
                                                                                                                                                                                                                     $
                                                                     Taxes (not deducted from wages or included in home mortgage payments)
                                                                     (Specify)                                                                                                                                       $
                                                                                                                                                                                                                     $
                                                                                                                                                                                                                     $
                                                                     Installment payments (in chapter 12 and 13 cases, do not list payments to be included in the plan)
                                                                       Auto                                                                                                                                          $              160.00
                                                                       Other                                                                                                                                         $
                                                                                                                                                                                                                     $
                                                                     Alimony, maintenance, and support paid to others                                                                                                $
                                                                     Payments for support of additional dependents not living at your home                                                                           $
                                                                     Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                    $
                                                                     Other Pets                                                                                                                                      $                30.00
                                                                                                                                                                                                                     $
                                                                                                                                                                                                                     $
                                                                                                                                                                                                                     $
                                                                                                                                                                                                                     $

                                                                     TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                                    $            1,949.00

                                                                     (FOR CHAPTER 12 AND 13 DEBTORS ONLY)
                                                                     Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some
                                                                     other regular interval.
                                                                       A. Total projected monthly income                                                                             $
                                                                       B. Total projected monthly expenses                                                                           $
                                                                       C. Excess income (A minus B)                                                                                  $
                                                                       D. Total amount to be paid into plan each                                                                     $
                                                                                                                                             (interval)
                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                Case:05-18237-HRT Doc#:1 Filed:04/13/05                                              Entered:04/13/05 10:09:44 Page22 of 26
                                                                     IN RE Barngrover, Earl Dean                                                                                     Case No.
                                                                                                                                               Debtor(s)

                                                                                                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                                  14 sheets, and that
                                                                                                                                                                                              (Total shown on summary page plus 1)
                                                                     they are true and correct to the best of my knowledge, information, and belief.


                                                                     Date: April 13, 2005                                             Signature: /s/ Earl Dean Barngrover
                                                                                                                                                                                                                                                     Debtor
                                                                                                                                                      Earl Dean Barngrover

                                                                     Date:                                                            Signature:
                                                                                                                                                                                                                                       (Joint Debtor, if any)


                                                                                                                                                                                           [If joint case, both spouses must sign.]


                                                                         CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that
                                                                     I have provided the debtor with a copy of this document.
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                                                                     Printed or Typed Name of Bankruptcy Petition Preparer                                                          Social Security No.
                                                                                                                                                                                    (Required by 11 U.S.C. § 110(c).)




                                                                     Address


                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:
                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each
                                                                     person.



                                                                     Signature of Bankruptcy Petition Preparer                                                                      Date


                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedures may result
                                                                     in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                       (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of                  sheets, and that they are true and correct to the best of my knowledge, information, and belief.
                                                                                                        (Total shown on summary page plus 1)




                                                                     Date:                                                            Signature:


                                                                                                                                                                                               (Print or type name of individual signing on behalf of debtor)


                                                                                                         [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]


                                                                        Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                             Case:05-18237-HRT Doc#:1 Filed:04/13/05                    Entered:04/13/05 10:09:44 Page23 of 26
                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Colorado

                                                                     IN RE:                                                                                  Case No.
                                                                     Barngrover, Earl Dean                                                                   Chapter 7
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: April 13, 2005                   Signature: /s/ Earl Dean Barngrover
                                                                                                                         Earl Dean Barngrover                                                    Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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                                                                     VERIFICATION OF CREDITOR MATRIX
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 Advanta MasterCard
 P.O. Box 30715
 Salt Lake City, UT     84130-0715



 All American Bail Bonding
 305 W. Magnolia #266
 Ft. Collins, CO 80521



 Bank Of America Visa
 P.O. Box 1038
 Norfolk, VA 23501-1038



 Bank One Visa
 P.O. Box 15123
 Wilmington, DE    19850



 Big Thompson Credit Union
 740 N. Cleveland
 Loveland, CO 80537



 Chase Visa
 P.O. Box 52045
 Phoenix, AZ 85072-2045



 Colorado Dept. Of Revenue
 1375 Sherman St., Rm. 504
 Denver, CO 80261



 Colorado Dept. Of Revenue
 C/O Colorado Attorney General
 1525 Sherman St., 5th Fl.
 Denver, CO 80203
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 Discover
 P.O. Box 3007
 New Albany, OH     43054-3007



 First Premier Bank MasterCard
 P.O. Box 5519
 Sioux Falls, SD 57117



 Fleet Visa
 P.O. Box 17192
 Wilmington, DE    19850



 IRS/SPS
 600 17th St. 12th Fl. North Tower
 Stop 5012 DEN
 Denver, CO 80202



 IRS/SPS
 C/O US Attorney-Special Asst.
 1244 Speer Blvd. #500
 Denver, CO 80204



 IRS/SPS
 C/O US Attorney-Tax Division
 P.O. Box 683, Ben Franklin Station
 Washington, DC 20044



 MBNA America
 P.O. Box 15453
 Wilmington, DE    19850



 Providian Visa
 P.O. Box 660433
 Dallas, TX 75266
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 Sears
 P.O. Box 45129
 Jacksonville, FL     32232-5129



 TMobile
 C/O Trauner, Cohen & Thomas, LLP
 P.O. Box 1217
 Oaks, PA 19456
